     Case: 1:16-cv-07072 Document #: 23 Filed: 12/22/16 Page 1 of 1 PageID #:150



                             IN THE UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF ILLINOIS




VERRAGIO, LTD.                                            Case No. 1:16-cv-07072

                    Plaintiff,
                                                          STIPULATION TO DISMISS
            vs.                                           WITH PREJUDICE

MASTER CASTING & CAD,

                    Defendant.



        Plaintiff Verragio, Ltd. (“Verragio”) and Defendant Master Casting & CAD (“Master

Casting”), having resolved the above-entitled action pursuant to a Confidential Settlement Agreement

and Release between them, hereby stipulate and agree pursuant to Fed. R. Civ. P. 41 (a)(1)(A)(ii) that

this action, be and hereby is dismissed with prejudice in its entirety, with each party to bear its own

attorneys’ fees and costs.

                                                      Respectfully submitted,

 TUCKER ELLIS LLP                                     LINDSAY, RAPPAPORT & POSTEL, LLC

 By: /s/Nathan T. Newman                              By: /s/Christopher J. Pickett
      Nathan T. Newman – ARDC #6322359                      Christopher J. Picket (6287096)
      Tucker Ellis LLP                                      Avery Kerr Gordon (6319201)
      233 South Wacker Drive, Suite 6950                    LINDSAY, RAPPAPORT & POSTEL, LLC
      Chicago, IL 60606                                     10 S. LaSalle St., Suite 1301
      Telephone: 312.624.6300                               Chicago, IL 60603
     Facsimile: 312.624.6309                                cpickett@lrplawfirm.com
                                                            Direct: 312.596.7779
                  and                                       agordon@lrplawfirm.com
                                                            Direct: 312.734.8974
       Howard A. Kroll
       Admission Pro Hac Vice
       howard.kroll@tuckerellis.com
       515 South Flower Street, 42nd Floor
       Los Angeles, California 90071
       Telephone:      213-430-3400
       Facsimile:      213-430-3409




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